Case 2:24-cv-03280-MWF-AJR Document 31 Filed 06/14/24 Page 1 of 1 Page ID #:259


                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES—GENERAL

 Case No. CV 24-03280-MWF (AJRx)                  Date: June 14, 2024
 Title: Wonderfold Corporation v. Highlink Trade Limited et al.

 Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

           Deputy Clerk:                            Court Reporter:
           Rita Sanchez                             Not Reported

           Attorneys Present for Plaintiff:         Attorneys Present for Defendants:
           None Present                             None Present

 Proceedings (In Chambers): ORDER TO SHOW CAUSE RE PRELIMINARY
                            INJUNCTION

        On April 29, 2024, the Court granted in part Plaintiff Wonderfold Corporation’s
 Ex Parte Application for a Temporary Restraining Order and an Order to Show Cause
 Re Preliminary Injunction (Docket No. 10). (The “Prior Order”, Docket No. 13). In
 the Prior Order, the Court issued an Order to Show Cause (“OSC”) why a Preliminary
 Injunction should not issue. (Id. at 1). On May 20, 2024, Plaintiff filed a Notice of
 Non-Opposition to the OSC. (Docket No. 17). Defendants Highlink Trade Limited,
 Omnifamily Inc., and Omnihome Inc. filed a Reply to the Notice on May 28, 2024.
 (Docket No. 23). In the Reply, Defendants state that they are no longer selling the
 accused products and would be willing to stipulate to an injunction pending resolution
 of this action. (Docket No. 23 at 2). Based on the Reply, the Court set a status
 conference regarding the OSC, and shortly thereafter, held the conference. (Docket
 No. 28).

       Based on the discussion, the Court expects the parties to stipulate to a
 preliminary injunction. If that does not occur, then the parties will follow the
 following schedule: Defendants may file a response to the OSC on or before June 24,
 2024. Plaintiff may file a reply on or before July 1, 2024. A hearing regarding the
 OSC will be held at 10:00 a.m. on July 8, 2024.

       IT IS SO ORDERED.


 ______________________________________________________________________________
                          CIVIL MINUTES—GENERAL                              1
